
710 S.E.2d 53 (2011)
STATE of North Carolina
v.
Michael Lamont BYNEM.
No. 213P11.
Supreme Court of North Carolina.
June 15, 2011.
J. Aldean Webster, III, Assistant Attorney General, for State of North Carolina.
Michael Lamont Bynem, for Bynem, Michael Lamont.
Susan I. Doyle, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 27th of May 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 15th of June 2011."
Upon consideration of the petition filed on the 27th of May 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
